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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

MAURICE NELSON and CHRISTI
MARSHALL, individually and on behalf of all
others similarly situated,

                       Plaintiff,

       v.                                                      No. 17-cv-7697
                                                               Hon. John Z. Lee
PACE SUBURBAN BUS, MARGARET
MURRY, in her individual capacity and in her
official capacity of Division Manager of Pace
Suburban Bus - Heritage Division,

                       Defendants.

                               CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that on September 13, 2018, he served a true

and correct copy of Defendant’s Amended Response to Plaintiffs’ First Set of Document

Requests and Defendant’s Amended Answers to Plaintiffs’ First Set of Interrogatories, by

emailing a copy to the parties listed below at their respective email addresses; and caused this

Certificate of Service to be filed electronically through the CM/ECF system which will send

notification of such filing to the attorney(s) listed below:
      Case: 1:17-cv-07697 Document #: 54 Filed: 09/13/18 Page 2 of 2 PageID #:266




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